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UN|TED STATES OF AN|ER|CA,
Plaintiff,

VS.
CR. NO. 02-20356-5

W|LL|A|V[ HOLLAND,

Detendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETTING

 

This cause came on fora report date on Ju|y 25, 2005. At that time, counsel ior the
defendant requested a continuance ot the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with a

report date of Monda§gl August 29l 2005, at 9:30 a.m., in Courtroom 1. 11th F|oor of the
Federa| Bui|cling, l\/lemphis, TN.

 

The period from August 12, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional

time to prepare outweigh the need f§_)L a spe dy tria|.

   

|T lS SO ORDERED this 1 day ot

 

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UNITED `SETATS DISTRIC COUR - W"'RNTE D'S'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 356 in
case 2:02-CR-20356 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

